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 1   BOIES SCHILLER FLEXNER LLP                    SUSMAN GODFREY L.L.P.
     David Boies (admitted pro hac vice)           Bill Carmody (admitted pro hac vice)
 2   333 Main Street                               Shawn J. Rabin (admitted pro hac vice)
     Armonk, NY 10504                              Steven M. Shepard (admitted pro hac vice)
 3
     Tel: (914) 749-8200                           Alexander Frawley (admitted pro hac vice)
 4   dboies@bsfllp.com                             One Manhattan West, 50th Floor
                                                   New York, NY 10001
     Mark C. Mao, CA Bar No. 236165
 5                                                 Tel.: (212) 336-8330
     Beko Reblitz-Richardson, CA Bar No.
                                                   bcarmody@susmangodfrey.com
 6   238027
                                                   srabin@susmangodfrey.com
     44 Montgomery St., 41st Floor
                                                   sshepard@susmangodfrey.com
 7   San Francisco, CA 94104
                                                   afrawley@susmangodfrey.com
     Tel.: (415) 293-6800
 8   mmao@bsfllp.com                               Amanda K. Bonn, CA Bar No. 270891
 9   brichardson@bsfllp.com                        1900 Avenue of the Stars, Suite 1400
                                                   Los Angeles, CA 90067
     James Lee (admitted pro hac vice)
10                                                 Tel.: (310) 789-3100
     Rossana Baeza (admitted pro hac vice)
                                                   abonn@susmangodfrey.com
11   100 SE 2nd St., 28th Floor
     Miami, FL 33131                               MORGAN & MORGAN
12   Tel.: (305) 539-8400                          John A. Yanchunis (admitted pro hac vice)
     jlee@bsfllp.com                               Ryan J. McGee (admitted pro hac vice)
13   rbaeza@bsfllp.com                             201 N. Franklin Street, 7th Floor
                                                   Tampa, FL 33602
14   Alison L. Anderson, CA Bar No. 275334
                                                   Tel.: (813) 223-5505
     M. Logan Wright, CA Bar No. 349004
15                                                 jyanchunis@forthepeople.com
     2029 Century Park East, Suite 1520
                                                   rmcgee@forthepeople.com
     Los Angeles, CA 90067
16   Tel.: (213) 629-9040                          Michael F. Ram, CA Bar No. 104805
17   alanderson@bsfllp.com                         711 Van Ness Ave, Suite 500
     mwright@bsfllp.com                            San Francisco, CA 94102
18                                                 Tel: (415) 358-6913
     Attorneys for Plaintiffs                      mram@forthepeople.com
19
                                UNITED STATES DISTRICT COURT
20
                           NORTHERN DISTRICT OF CALIFORNIA
21
   CHASOM BROWN, WILLIAM BYATT,                      Case No.: 4:20-cv-03664-YGR-SVK
22 JEREMY DAVIS, CHRISTOPHER
   CASTILLO, and MONIQUE TRUJILLO                    [PROPOSED] ORDER GRANTING
23 individually and on behalf of all other similarly PLAINTIFFS’ UNOPPOSED MOTION

24 situated,                                         FOR FINAL APPROVAL OF CLASS
                                                     ACTION SETTLEMENT
25                       Plaintiffs,
       v.                                            Judge:     Hon. Yvonne Gonzalez Rogers
26                                                   Date:      July 30, 2024
   GOOGLE LLC,                                       Time:      2:00 p.m.
27                       Defendant.                  Location: Courtroom 1 – 4th Floor

28
     [Proposed] Order Granting Plaintiffs’ Unopposed                  4:20-cv-03664-YGR-SVK
     Motion for Final Approval of Class Action Settlement
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 1          The parties in the above-captioned action have reached a settlement that is set forth in the

 2 parties’ Settlement Agreement filed with this Court. See Mao Decl. Ex. 1. Presently before this

 3 Court is Plaintiffs’ Unopposed Motion for Final Approval of Class Action Settlement.

 4          The Court has considered all papers, evidence, and argument submitted regarding the

 5 Class Action Settlement. Based on the foregoing, IT IS HEREBY ORDERED, ADJUDGED

 6 AND DECREED as follows:

 7          1.      The Court GRANTS final approval of the proposed settlement.

 8          2.      The Court orders Google to be bound by the injunctive relief provisions set forth

 9 in the parties’ Settlement Agreement. See Mao Decl. Ex. 1 at 7–9.

10          3.      For the reasons set forth in its certification order (Dkt. 803), the Court confirms

11 its certification of the Rule 23(b)(2) classes, which are defined as:

12               Class 1: All Chrome browser users with a Google account who accessed a non-Google
                 website containing Google tracking or advertising code using such browser and who
13               were (a) in “Incognito mode” on that browser and (b) were not logged into their
14               Google account on that browser, but whose communications, including identifying
                 information and online browsing history, Google nevertheless intercepted, received,
15               or collected from June 1, 2016 through the present.

16               Class 2: All Safari, Edge, and Internet Explorer users with a Google account who
                 accessed a non-Google website containing Google tracking or advertising code using
17               such browser and who were (a) in a “private browsing mode” on that browser and (b)
                 were not logged into their Google account on that browser, but whose
18               communications, including identifying information and online browsing history,
                 Google nevertheless intercepted, received, or collected from June 1, 2016 through the
19               present.

20          4.      The Court finds that final approval is appropriate without preliminary approval or

21 notice as the proposed settlement follows certification under Rule 23(b)(2) without release of any

22 class members’ monetary relief. See Stathakos v. Columbia Sportswear Company, 2018 WL

23 582564, at *3 (N.D. Cal. Jan. 25, 2018) (Gonzalez Rogers, J.) (approving settlement and finding

24 preliminary approval and notice was not required for 23(b)(2) settlement as it was purely

25 injunctive and did not impact class members’ right to seek monetary relief).
26          5.      The Court finds that final approval is warranted based on the applicable Hanlon

27 factors. The Hanlon court identified the following factors relevant to assessing a settlement

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 1 proposal: (1) the strength of the plaintiff’s case; (2) the risk, expense, complexity, and likely

 2 duration of further litigation; (3) the risk of maintaining class action status throughout the trial;

 3 (4) the amount offered in settlement; (5) the extent of discovery completed and the stage of the

 4 proceeding; (6) the experience and views of counsel; (7) the presence of a government

 5 participant; and (8) the reaction of class members to the proposed settlement. Hanlon v. Chrysler

 6 Corp., 150 F.3d 1011, 1026 (9th Cir. 1998) (citation omitted). The Court has assessed each of

 7 the settlement approval factors applicable to this case and finds based on those factors that the

 8 parties’ proposed settlement should be given final approval.

 9          6.      The Court further finds that final approval is warranted under Fed. R. Civ. P.

10 23(e)(2). First, final approval is warranted under 23(e)(2)(A) as the Court finds that the class

11 representatives and Class Counsel adequately represented the class. See Morrison v. Ross Stores,

12 Inc., 2022 WL 17592437, at *3 (N.D. Cal. Feb. 16, 2022) (Gonzalez Rogers, J.) (granting final

13 approval and finding that “the representative parties and class counsel have fairly and adequately

14 represented the interests of the Class” in granting approval of an injunctive-relief-only

15 settlement). Second, final approval is warranted under 23(e)(2)(B) as the Court finds that the

16 parties negotiated at arm’s-length. Third, final approval is warranted as the Court finds that the

17 settlement provides substantial relief for the class under Rule 23(e)(2)(C). See id. at *4. Fourth,

18 final approval is also warranted under Rule 23(e)(2)(D) as the Court finds that the settlement

19 treats each class member equally. See id. at *5; see also In re Google LLC St. View Elec.

20 Commc’ns Litig., 611 F. Supp. 3d 872, 895 (N.D. Cal. 2020), aff’d sub nom. In re Google Inc.

21 St. View Elec. Comm’ns Litig., 21 F.4th 1102 (9th Cir. 2021) (granting final approval where each

22 member benefited equally from the injunctive relief).

23
            IT IS SO ORDERED.
24

25 DATED: ________________________                _____________________________________
                                                   Honorable Yvonne Gonzalez Rogers
26                                                 United States District Judge
27

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                                                   2
     [Proposed] Order Granting Plaintiffs’ Unopposed                        4:20-cv-03664-YGR-SVK
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